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8

9
                           UNITED STATES DISTRICT COURT

10
             CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION

11
                         3470 Twelfth Street, Riverside, CA 92501
12
      AGUSTIN RAMIREZ, ANTHONY                    No.
13
      RAMIREZ, AGUSTIN RAMIREZ, JR.,
                                                  COMPLAINT FOR:
14
                      Plaintiffs,                 1. FEDERAL TRADEMARK
15
                                                     INFRINGEMENT AND UNFAIR
16           -vs.-                                   COMPETITION;
17                                                2. TRADEMARK INFRINGEMENT
      MARIO SOTELO, RICARDO                          UNDER CALIFORNIA COMMON
18    TARAZON, ARTURO BELTRAN,                       LAW;
19    JORGE GUZMAN, JUAN ANTONIO                  3. UNFAIR COMPETITION UNDER
      SOTELO, DOES 1-10,                             CAL. BUS. AND PROF. CODE
20
                                                     §§ 17200 et seq.;
21                    Defendants.                 4. FALSE ADVERTISING UNDER
22                                                   CAL. BUS. AND PROF. CODE
                                                     §§17500 et seq.;
23
                                                  5. INTERFERENCE WITH
24                                                   PROSPECTIVE BUSINESS
                                                     ADVANTAGE;
25
                                                  6. ACCOUNTING;
26                                                7. TEMPORARY, PRELIMINARY
27
                                                     AND PERMANENT INJUNCTIVE
                                                     RELIEF
28
                                                      JURY TRIAL DEMANDED


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1            Plaintiffs Agustin Ramirez, Anthony Ramirez and Agustin Ramirez, Jr.
2    bring this action against defendants Mario Sotelo, Ricardo Tarazon, Arturo Beltran,
3    Jorge Guzman, Juan Antonio Sotelo and Does 1-10 for (1) injunctive relief and
4    damages for unfair competition under section 43(a) of the Lanham Act, 15 U.S.C. §
5    1125(a); (2) injunctive relief and damages for violation of California state common
6    trademark law; (3) unfair competition under California Business and Professions
7    Code § 17200 et seq.; (4) false advertising under California Business and
8    Professions Code § 17500 et seq.; (5) interference with prospective business
9    advantage under California common law; and (6) for accounting, as hereinafter
10   alleged:
11                              JURISDICTION AND VENUE
12          1.       These claims arise under the laws of the United States, particularly
13   under the federal Trademark Act, as amended, 15 U.S.C. § 1051 et seq., and under
14   California statutory and common law, including Cal. Bus. & Prof. Code § 17200 et
15   seq. and Cal. Bus. & Prof. Code §§ 17500 et seq. This Court has original
16   jurisdiction over the subject matter of the Lanham Act claim pursuant to 28 U.S.C.
17   §§ 1331 and 1138(a), and pendent jurisdiction over the state unfair competition and
18   associated claims under 28 U.S.C. § 1338(b) in that said claims are joined with a
19   substantial and related claim under the Trademark Laws of the United States and are
20   so related to the federal claims that they form part of the same case or controversy
21   and arise from a common nucleus of operative facts. 15 U.S.C. §§ 1501 et seq.
22          2.       This Court has specific personal jurisdiction over all of the
23   defendants as each resides in this judicial district or has purposefully committed,
24   within the state, the acts from which these claims arise and/or has committed
25   tortious acts outside California, knowing and intending that such acts would cause
26   injury within the state.
27          3.       Venue is proper in the United States District Court for the Central
28   District pursuant to 28 U.S. C. §§ 1391(b) and 1391(c) in that defendants reside in


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1    this District, transact affairs in this District and/or that a substantial part of the
2    events or omissions giving rise to the claims herein occurred within this District.
3                                      THE PARTIES
4           4.       Plaintiffs Agustin Ramirez is a resident of the city of Fontana, San
5    Bernardino County, California.
6           5.       Plaintiffs Anthony Ramirez is a resident of the city of Fontana, San
7    Bernardino County, California.
8           6.       Plaintiffs Agustin Ramirez, Jr. is a resident of the city of Fontana,
9    California.
10          7.       Defendant Mario Sotelo is a resident of the city of Ontario, San
11   Bernardino County, California.
12          8.       Defendant Ricardo Tarazon is a resident of the city of Fontana, San
13   Bernardino County, California.
14          9.       Plaintiffs and informed and believe that defendant Jorge Guzman is a
15   resident of the state of Washington.
16          10.      Defendant Juan Antonio Sotelo is a resident of the city of Ontario,
17   San Bernardino County, California.
18          11.      The true names and capacities, whether individual, corporate or
19   otherwise, of the defendants named herein as Does 1 through 10 are presently
20   unknown to plaintiffs, who therefore sue said defendants by such fictitious names.
21   Plaintiffs will seek to amend this complaint to allege the true names and capacities
22   of said defendants when plaintiffs have ascertained such information. Plaintiffs are
23   informed and believe that each defendant named herein as Does 1 through 10 has
24   participated in some or all of the acts or conduct alleged in this Complaint and is
25   liable to Plaintiffs by reason thereof.
26          12.      Plaintiffs are informed and believe that defendant DOE 1 is an
27   individual who performs with the other defendants herein and, based upon plaintiffs’
28




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1    information and belief, goes by the name of Vicente Martinez. Plaintiffs are
2    informed and believe that defendant DOE 1 is a citizen and resident of Mexico.
3           13.     Plaintiffs are informed and believe that defendants DOES 2-10 are
4    individual musicians who perform in connection with the named defendants who
5    engage in the wrongful conduct alleged below.
6                            GENERAL ALLEGATIONS
7           14.     In the late 1970’s, plaintiff Agustin Ramirez founded the musical
8    group “Los Caminantes Aztecas” (“The Aztec Walkers”) in the city of
9    Bloomington, California. In or about 1982, the name of the group was shortened to
10   “Los Caminantes” (“The Walkers”).
11          15.     Of the musicians who became partners after the group’s formation
12   and during the course of its history, by late 2011 plaintiff Agustin Ramirez alone
13   remained as the sole member/owner of the group and the only individual to
14   continuously use the “Caminantes” trade name and mark in connection with goods,
15   namely phonorecords, and live entertainment services of the musical group from the
16   group’s inception.
17          16.     Over the course of its history, the musical group “Los Caminantes”
18   headed by plaintiff Agustin Ramirez has recorded over 30 albums, featuring plaintiff
19   Agustin Ramirez as lead vocalist on the group’s recordings. During the same period
20   of time, the musical group “Los Caminantes” has toured extensively throughout the
21   United States and Mexico, performing in dances, concerts and massive outdoor
22   events as well as on televised programs. The group became wildly popular for its
23   “grupero” musical style within the Regional Mexican musical genre. Over the
24   course of its history, the group has appeared on numerous television shows aimed at
25   the Spanish-speaking audience of the United States, Mexico and the Americas.
26          17.     In October 2012, plaintiff Agustin Ramirez transferred the “Los
27   Caminantes” mark and the goodwill of the business with which the mark is
28   associated to himself and his sons, Anthony Ramirez and Agustin Ramirez, Jr.


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1            18.    Plaintiffs are the owners of the federal registration of the service
2    mark LOS CAMINANTES in international classification 041 for entertainment
3    services in the nature of live performance by a musical group, Reg. No. 4, 410,019.
4                             ROLE OF DEFENDANTS
5            19.    Defendants Mario Sotelo and Ricardo Tarazon are musicians who
6    performed with the musical group “Los Caminantes” until October 2013.
7            20.    Defendant Mario Sotelo was a musician employee of the “Los
8    Caminantes” musical group from the mid-1980’s until approximately 1998, when he
9    left the group. In 2004, defendant Mario Sotelo was again employed by the “Los
10   Caminantes” musical group as a musician and backup vocalist until his departure in
11   or about October 2013. Defendant Mario Sotelo at all times relevant herein was an
12   employee of the group and never a partner or owner of the “Los Caminantes” group
13   or the “Los Caminantes” name.
14           21.    Defendant Ricardo Tarazon was a musician employee of the “Los
15   Caminantes” musical group from 1998 until his departure from the group in or about
16   October 2013. Defendant Ricard Tarazon at all times relevant was herein an
17   employee of the group and never a partner or owner of the “Los Caminantes” group
18   or the “Los Caminantes” name.
19           22.    Defendants Arturo Beltran and Jorge Guzman were musician
20   employees of the “Los Caminantes” musical group from approximately the early
21   1990’s until approximately 1998, when they both left the group. Neither Arturo
22   Beltran nor Jorge Guzman were other than contract musicians of the group, and had
23   no ownership interest in the “Los Caminantes” group or the “Los Caminantes”
24   name.
25           23.    Defendant Juan Antonio Sotelo is the son of defendant Mario Sotelo.
26   Defendant Juan Antonio Sotelo has never been a member of the musical group “Los
27   Caminantes.”
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1           24.     Defendant DOE 1, who plaintiffs are informed and believe to be
2    known by the name of Vicente Martinez, is a vocalist who has never been a member
3    of the musical group “Los Caminantes.” As shown in Figures 1 and 2, below,
4    defendant DOE 1/Vicente Martinez is shown in pictures of defendants’ group with a
5    long, flowing hair style that is similar in appearance to the hair style used by
6    plaintiff Agustin Ramirez, the lead vocalist of “Los Caminantes.”
7                   WRONGFUL CONDUCT OF DEFENDANTS
8           25.     In mid-September 2013, plaintiff Agustin Ramirez took time off
9    from performing with “Los Caminantes” to prepare for heart valve surgery in mid-
10   October 2013. Plaintiff Agustin Ramirez was not given permission by his doctor to
11   resume working until approximately the first week of November 2013. The group
12   went on hiatus during this period.
13          26.     Due to plaintiff Agustin Ramirez’s health condition, he cancelled
14   dates that he had scheduled for performances of “Los Caminantes” in the state of
15   Florida for mid-October 2013.
16          27.     While plaintiff Agustin Ramirez was on medical hiatus, defendants
17   Mario Sotelo and Ricardo Tarazon left the “Los Caminantes” group, and together
18   with all or some of the other defendants in this action, in mid-October 2013
19   defendants Mario Sotelo and Ricardo Tarazon usurped the Florida booking that
20   plaintiff Agustin Ramirez had cancelled and traveled to Florida to perform in at least
21   three different venues under the name “Los Caminantes” without plaintiff Agustin
22   Ramirez’ consent or permission.
23          28.     Plaintiffs are informed and believe that since mid-October 2013,
24   defendant Mario Sotelo and Ricardo Tarazon, emboldened by their successful
25   usurpation of the “Los Caminantes” name, recruited the other defendants in this
26   action to perform with them and market the newly-formed group as “Los
27   Caminantes,” “Caminantes,” or “x Caminantes,” and have subsequently performed
28   under the “Los Caminantes” moniker in Texas and in California, with more events


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1    scheduled for the month of November 2013 in California and elsewhere in the
2    United States.
3           29.       In one advertisement for a performance by defendants’ musical group
4    for November 16, 2013 in Texas, the name of defendants’ group is advertised as “x
5    Caminantes” and depicts defendants Mario Sotelo, Ricardo Tarazon, Arturo Beltran
6    and Jorge Guzman, together with an individual identified herein as defendant DOE
7    1/Vicente Martinez, who styles his hair in the same manner as plaintiff Agustin
8    Ramirez, the lead vocalist of “Los Caminantes.” (See Fig. 1, below.)
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20                                            Fig. 1
21          30.       Plaintiffs are informed and believe that defendants have scheduled
22   other performances in California and elsewhere in the United States, where they are
23   using plaintiffs’ mark “Los Caminantes” to advertise their group and performances.
24   Plaintiffs have received a photograph of a poster displayed in the area of Atlanta,
25   Georgia, which advertises a dance featuring a performance by “Los Caminantes,”
26   using the same photograph as the individuals shown in Figure 1, above. The event
27   is advertised to take place on Saturday, November 30, 2013. (See Fig. 2, below.)
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17                                            Fig. 2
18          31.      Plaintiffs are informed and believe, and based on such information
19   and belief allege, that as a result of the wrongful conduct of defendants and each of
20   them, unscrupulous promoters and venue operators are taking advantage of
21   defendants’ usurpation of plaintiffs’ “Los Caminantes” mark to mislead consumers
22   into believing that plaintiffs’ musical group is the one scheduled to perform.
23   Defendants’ intent to mislead the public is apparent, in addition, from the use of the
24   stylized “Los Caminantes” name in the advertisement for their services as well as by
25   the fact that DOE1/Vicente Martinez depicted in the photograph of defendants’
26   group styles his hair in long, flowing locks similar to the hair style of plaintiff
27   Agustin Ramirez.
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1                              FIRST CLAIM FOR RELIEF
2                 (FEDERAL TRADEMARK INFRINGEMENT AND
3                               UNFAIR COMPETITION)
4           32.     Plaintiffs reallege and incorporate in this cause of action all previous
5    paragraphs of this complaint.
6           33.     This claim for relief arises under 15 U.S.C. § 1125(a)(1)(A) and is
7    alleged against all defendants.
8           34.     Plaintiff Agustin Ramirez is in the creator and owner of the “Los
9    Caminantes” mark with respect to goods, namely phonorecords, and services in the
10   nature of live performances of a musical group, and has used the “Caminantes”
11   name in connection with the services of his musical group continuously since at
12   least as early as 1982.
13          35.     Plaintiffs Agustin Ramirez, Anthony Ramirez and Agustin Ramirez,
14   Jr. are the current owners of the “Los Caminantes” mark as well as the good will of
15   the business of the “Los Caminantes,” and are also owners of the registration of the
16   “Los Caminantes” service mark with the United States Patent and Trademark
17   Office, Reg. No. 4,410,019.
18          36.     None of the defendants named in this action have any claim of
19   ownership or colorable right to utilize the name “Los Caminantes.”
20          37.     The mark “Los Caminantes” is an arbitrary mark and is therefore
21   inherently distinctive and entitled to maximum trademark protection. See Fortune
22   Dynamic, Inc. v. Victoria’s Secret Stores Brand Management, Inc., 618 F.3d 1025,
23   1033 (9th Cir. 2010).
24          38.     Plaintiffs’ “Los Caminantes” mark is a strong mark in that it has
25   earned widespread recognition and success in the relevant marketplace, i.e. the Latin
26   music market of the United States, for over thirty (30) years.
27          39.     The mark adopted by defendants, i.e. “Los Caminantes,” is identical
28   to plaintiffs’ mark. Indeed, defendants have adopted plaintiffs’ mark as their own in


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 1   order to capitalize on the association with, and confusion with, plaintiffs’ musical
 2   group.
 3            40.   The channels of trade in which the Plaintiffs’ musical group “Los
 4   Caminantes” markets its goods and services, i.e. the Latin music market of the
 5   United States, is identical to the channel of trade in which defendants’ now attempt
 6   to launch their competing musical group using the same “Los Caminantes” name
 7   that plaintiffs have used in connection with their musical group for over three
 8   decades.
 9            41.   There is a strong probability of likelihood of confusion arising from
10   defendants’ use of plaintiffs’ “Los Caminantes” mark in connection with
11   defendants’ products and services. Not only are defendants using plaintiffs’ mark to
12   advertise defendants’ services, they are also using a look-alike of plaintiff Agustin
13   Ramirez to further the deception in print advertising for performances of
14   defendants’ group. In radio advertising for a performance by “Los Caminantes,”
15   there is no way to distinguish defendants’ musical group from that of plaintiffs,
16   given that the two names are identical.
17            42.   The actions of defendants, as alleged herein, have caused and stand
18   to cause substantial damage to plaintiff’s reputation and mark.
19            43.   The actions of defendants and each of them as herein alleged were
20   and are intended to cause confusion, have caused confusion, and will continue to
21   cause confusion unless enjoined.
22            44.   Defendants’ acts of unfair competition are willful and deliberate and
23   performed with an intent to reap the benefit of plaintiffs’ name, goodwill and
24   reputation.
25            45.   By reason of defendants’ acts of false designation, description and
26   representation, as alleged above, plaintiffs have suffered, and will continue to suffer,
27   substantial damage to their business reputation and goodwill, as well as loss of
28   profits in an amount not yet ascertained.


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 1          46.       Defendants’ actions of false designation, description and
 2   representation, as alleged above, have caused plaintiffs irreparable injury, and
 3   defendants threaten to continue to commit such acts, and unless restrained and
 4   enjoined, will continue to do so, all to plaintiffs’ irreparable injury. Plaintiffs’
 5   remedy at law is not adequate to compensate it for injuries inflicted and threatened
 6   by defendants.
 7                           SECOND CLAIM FOR RELIEF
 8                     (STATE TRADEMARK INFRINGEMENT)
 9          47.       Plaintiffs reallege and incorporate in this cause of action all previous
10   paragraphs of this complaint.
11          48.       Defendants’ acts complained of herein constitute trademark
12   infringement under the common law of California.
13          49.       Defendants’ conduct as alleged above has damaged and will continue
14   to damage plaintiffs’ goodwill and reputation and has resulted in a loss of revenue to
15   plaintiffs in an amount to be determined.
16          50.       Defendants’ acts complained of herein constitute malice, oppression
17   and/or fraud, thus entitling plaintiffs to recover punitive damages.
18                             THIRD CLAIM FOR RELIEF
19                (UNFAIR COMPETITION—CAL. BUS. & PROF.
20                              CODE § 17200 ET SEQ.)
21          51.       Plaintiffs reallege and incorporate in this cause of action all previous
22   paragraphs of this complaint.
23          52.       The acts and conduct of defendants as alleged above in this
24   Complaint constitute unlawful, unfair, and/or fraudulent business acts or practices as
25   defined by California Bus. & Prof. Code § 17200 et seq.
26          53.       Defendants’ violation of federal law [15 U.S.C. § 1114 et seq. and 15
27   U.S.C. § 1125] and state common law, as alleged above in this Complaint, constitute
28   an unlawful business practice.


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 1          54.      Defendants’ acts of unfair competition have proximately caused and
 2   will continue to cause plaintiffs to suffer injury in fact and loss of money and/or
 3   property in an amount to be proven at trial. Defendants’ acts of unfair competition
 4   also have caused and are causing irreparable and incalculable injury to plaintiffs and
 5   to plaintiffs’ LOS CAMINANTES mark and trade name and to the business and
 6   goodwill represented thereby, and unless enjoined, will cause further irreparable and
 7   incalculable injury, whereby plaintiffs have no adequate remedy at law.
 8                          FOURTH CLAIM FOR RELIEF
 9                  (FALSE ADVERTISING – CAL. BUS. & PROF.
10                             CODE § 17500 ET SEQ.)
11          55.      Plaintiffs reallege and incorporate in this cause of action all previous
12   paragraphs of this complaint.
13          56.      Plaintiff s alleged based upon information and belief that in engaging
14   the acts described above defendants have acted and continue to act, directly or
15   indirectly, with the intent to sell, offer and/or induce the public to purchase and/or
16   use and/or disseminate and/or cause to be disseminated before the public, by way of
17   signs, newspaper, other publications or other advertising media, statements
18   concerning defendants’ goods and services which are untrue and/or misleading, and
19   which defendants know are untrue and/or misleading.
20          57.      By the aforesaid acts, defendants have engaged in and are engaging
21   in false advertising in violation of California Business & Professions Code § 17500
22   et seq., resulting in injury in fact and loss of money and/or property by plaintiffs in
23   an amount to be proven at trial.
24          58.      If defendants are permitted to proceed with the acts as aforesaid,
25   plaintiffs will continue to be irreparably injured by reason of defendants’ false
26   advertising.
27          59.      If defendants are permitted to proceed to practice the aforesaid acts
28   of false designation of origin and false description on the public, plaintiffs will


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 1   sustain serious and irreparable injury. Defendants have proceeded and are
 2   proceeding with the aforesaid acts deliberately and willfully. Unless preliminarily
 3   and permanently enjoined by this Court, plaintiffs are informed and believe and
 4   therefore allege that there is a substantial possibility and threat of ongoing false
 5   advertisement by defendants for which plaintiffs are without an adequate remedy at
 6   law.
 7          60.     In addition, defendants’ acts, if allowed to proceed and continue, will
 8   cause sales of plaintiffs’ goods and services to be lost or substantially diminished in
 9   value, and may require plaintiffs to prepare and publish corrective advertising to
10   ameliorate confusion caused by defendants’ actions, all to plaintiffs’ damage in an
11   as yet unascertained amount. Plaintiffs are informed and believe, and therefore
12   allege, that defendants’ acts may also result in substantial profits to defendants, to
13   which defendants are not entitled.
14                            FIFTH CLAIM FOR RELIEF
15                    (INTERFERENCE WITH PROSPECTIVE
16                             BUSINESS ADVANTAGE)
17          61.     Plaintiffs reallege and incorporate in this cause of action all previous
18   paragraphs of this complaint.
19          62.     This claim for relief arises under the common law of the State of
20   California and is alleged against all defendants.
21          63.     Defendants and each of them, through their actions, have interfered
22   with the prospective business advantage of plaintiffs by interfering with the right of
23   plaintiffs to exploit and benefit commercially from plaintiffs’ LOS CAMINANTES
24   mark and the goodwill of the business of plaintiffs’ musical group.
25          64.     Plaintiffs have been damaged by the tortious interference by
26   defendants and each of them with plaintiff’s economic relations in an amount to be
27   determined.
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 1           65.    The aforementioned acts of defendants were and are willful,
 2   oppressive and malicious. Plaintiffs therefore should be awarded punitive damages
 3   in an amount to be alleged by amendment to this complaint.
 4                           SIXTH CLAIM FOR RELIEF
 5                                   (ACCOUNTING)
 6           66.    Plaintiffs reallege and incorporate in this cause of action all previous
 7   paragraphs of this complaint.
 8           67.    This claim for relief arises under the common law of the State of
 9   California and is alleged against all defendants.
10           68.    Defendants are in possession of information relating to monies paid
11   to defendants from their misleading and deceptive practices described herein, which
12   represents a misappropriation of monies from plaintiffs. The books, accounts,
13   records, ledgers, etc. which will provide this information are in the possession of
14   defendants and each of them. The amount of damages, profits and interest owing to
15   plaintiffs from defendants cannot be ascertained without an accounting by
16   defendants and each of them.
17           69.    Defendants and each of them have also benefited economically from
18   the usurpation of plaintiffs’ trade name and mark without accounting to plaintiffs for
19   the income and profits realized by defendants and each of them as a result of such
20   activities.
21           70.    Plaintiffs hereby demand, and are entitled to, an accounting of all
22   monies received by defendants and each of them from their use of plaintiffs’ mark
23   and trade name.
24                         SEVENTH CLAIM FOR RELIEF
25                      (TEMPORARY, PRELIMINARY AND
26                      PERMANENT INJUNCTIVE RELIEF)
27           71.    Plaintiffs reallege and incorporate in this cause of action all previous
28   paragraphs of this complaint.


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 1           72.       The continuing wrongful acts of defendants herein have harmed and
 2   continue to harm the interest of plaintiffs in the use of the name and mark “Los
 3   Caminantes.” If this court does not issue a temporary, preliminary and permanent
 4   injunction against defendants and each of them prohibiting the use of the name “Los
 5   Caminantes” and other confusingly similar terms, including without limitation
 6   “Caminantes” and “x Caminantes,” in connection with the goods and services of
 7   defendants’ musical group, plaintiffs will suffer irreparable harm for which there is
 8   no adequate remedy at law.
 9                                          PRAYER
10           WHEREFORE, plaintiffs pray for relief as follows:
11           1. For an order requiring defendants to show cause, if they have any, why they
12   should not be enjoined as set forth below, during the pendency of this action;
13           2.    For a temporary restraining order, a preliminary injunction, and a permanent
14    injunction, all enjoining defendants and each of them and their agents, servants, employees
15    and co-venturers, and all persons in active concert or participation with them who receive
16    actual notice of the order by personal service or otherwise, from engaging in or performing
17    any of the following acts:
18                   (a) using the LOS CAMINANTES mark or trade name alone or in
19    combination with any other words or symbols which so resemble plaintiffs’ mark and name
20    “Los Caminantes,” including without limitation “Caminantes” and “x Caminantes,” as to be
21    likely to cause confusion, deception or mistake, on or in connection with the advertising,
22    offering for sale, or sale of any product or service which is not plaintiffs’ or not authorized
23    by plaintiffs to be sold in connection with each of said marks and name;
24                   (b) contacting promoters, advertisers or other businesses for the purpose of
25    offering the services of defendants as “Los Caminantes” or any confusingly similar or
26    colorable imitation of the “Los Caminantes” name, including without limitation
27    “Caminantes” or “x Caminantes”;
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 1                    (c) using any trademark, trade name, logo, business name or other identifier
 2    or acting in any fashion which may be calculated to falsely represent that the goods and
 3    services provided, promoted or offered by defendants are sponsored by, authorized by,
 4    licensed by, or in any other way associated with plaintiffs;
 5                    (d) engaging in any other activity constituting an infringement of plaintiffs’
 6    mark or trade name or of plaintiffs’ rights in, or right to use or to exploit said mark or trade
 7    name;
 8                    (e) doing or causing to be done any further acts in violation of California
 9    Business and Professions Code § 17500 et seq.; and
10                    (f) assisting, aiding or abetting any other person or business entity in
11    engaging in or performing any of the activities referred to in subparagraphs (a) through (e)
12    above;
13             3. That the Court direct that defendants pay plaintiffs’ general, special and actual
14    and statutory damages as follows:
15                    (a) Plaintiff’s damages and defendants’ profits pursuant to 15 U.S.C. §
16    1117(a) and California Business and Professions Code § 17200 et seq. and § 17500 et seq.;
17                    (b) Such other damages as the Court shall deem to be just and equitable;
18                    (c) Punitive damages, in an amount to be determined by the Court, for
19    defendants’ malicious, willful, intentional, deliberate and tortious conduct; and
20                    (d) Interest, including prejudgment interest, on the foregoing sums;
21             4. For an accounting of all monies received by defendants from their activities in
22    connection with the use of the name “Los Caminantes” or any other term that includes the
23    name “Caminantes”;
24             5. That the Court order defendants to pay to plaintiffs both the costs of this action
25    and the reasonable attorneys’ fees incurred by plaintiffs in prosecuting this action; and
26             ///
27             ///
28             ///


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                                           COMPLAINT
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 1          6. That the Court grant to Plaintiffs such other and additional relief as is just and
 2    proper.
 3   Dated: November 22, 2013
 4
                                                          /stevenjeyre/
                                                  Steven J. Eyre
 5
                                                  Attorney for plaintiffs
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 7
                               DEMAND FOR JURY TRIAL
 8
            Plaintiffs demands a trial of this action by a jury.
 9
     Dated: November 22, 2013
10                                                        /stevenjeyre/
11                                                Steven J. Eyre
                                                  Attorney for plaintiffs
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                                         COMPLAINT
